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     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
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 4   Sacramento, California 95814
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 5
     Attorney for Defendant
 6   MANDA LYNN WENTZLOFF
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. CR-S-11-476 LKK
                                           )
12                     Plaintiff,          )
                                           )             STIPULATION AND ORDER TO MODIFY
13         v.                              )             CONDITIONS OF RELEASE
                                           )
14   MANDA LYNN WENTZLOFF,                 )
                                           )             JUDGE: Gregory G. Hollows
15                     Defendant.          )
                                           )
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
18   Jared Dolan, Assistant United States Attorney, attorney for Plaintiff, and Matthew C. Bockmon, Assistant
19   Federal Defender, attorney for defendant MANDA LYNN WENTZLOFF, that the conditions of pretrial
20   release set in this case on November 30, 2011, be modified to add the following condition:
21                  You shall participate in a cognitive behavior treatment program as directed by
22          the pretrial services officer. Such programs may include group sessions led by a
23          counselor or participation in a program administered by the Pretrial Services Office.
24          This proposed modification is being requested by Pretrial Services Officer Steven Sheehan. Ms.
25   Wentzloff was recently discharged from The Effort’s residential treatment program to live at a transitional
26   program in Sacramento. Ms. Wentzloff is attending outpatient dual diagnosis counseling and has been
27   referred to random outpatient testing. Mr. Sheehan informed counsel that defendants who complete residential
28   treatment and reside in or near Sacramento, are now mandated to participate in Moral Reconation Therapy
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 1   (MRT) and believes Ms. Wentzloff would benefit by participating in MRT. Ms. Wentzloff and the
 2   government have no opposition to this request.
 3   Dated: July 19, 2012
 4                                                          Respectfully submitted,
 5                                                          DANIEL J. BRODERICK
                                                            Federal Defender
 6
                                                            /s/ Matthew C. Bockmon
 7                                                          MATTHEW C. BOCKMON
                                                            Assistant Federal Defender
 8                                                          Attorney for Defendant
                                                            MANDA LYNN WENTZLOFF
 9
10   Dated: July 19, 2012                                   BENJAMIN B. WAGNER
                                                            United States Attorney
11
                                                             /s/ Matthew C. Bockmon for
12                                                          JARED DOLAN
                                                            Assistant U.S. Attorney
13
14
15                                                     ORDER
16           Based on the parties' stipulation, the pretrial service officer's agreement, and good cause appearing
17   therefrom, the Court hereby adopts the stipulation of the parties in its entirety.
18   IT IS SO ORDERED.
19   Dated: July 18, 2012
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21
22
23                                                          ________________________________
                                                            KENDALL J. NEWMAN
24                                                          UNITED STATES MAGISTRATE JUDGE
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28                                                          2
